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 1                                UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 Troy Lee Mullner,                                         Case No.: 2:20-cv-00535-JAD-BNW

 4             Petitioner

 5 v.                                                    Order Granting Extension of Time to File
                                                         Reply in Support of Motion to Dismiss to
 6 Johnson, et al.,                                                  August 14, 2024

 7             Respondents                                               [ECF No. 66]

 8

 9            Respondents seek an extension of time to file a reply in support of their motion to dismiss

10 Troy Lee Mullner’s 28 U.S.C. § 2254 habeas corpus petition. 1 While I find good cause

11 appearing to grant the extension, absent extraordinary circumstances (which will not include

12 respondents’ counsel’s workload), it is highly unlikely that I will grant another extension.

13            IT IS THEREFORE ORDERED that respondents’ unopposed motion for extension of

14 time to file a reply in support of the motion to dismiss [ECF No. 66] is GRANTED nunc pro

15 tunc to July 15, 2024. The deadline to reply is extended to August 14, 2024.

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17                                                             _________________________________
                                                               U.S. District Judge Jennifer A. Dorsey
18                                                             Dated: July 25, 2024

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         ECF No. 66.
